                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               NORTHERN DIVISION
                                NO. 2:08-CV-47-BO




GWEN HART, JOSEPH DRUTHER,     )
LUCILLE DRUTHER, EDWARD        )
WUELLNER, and JENNIFER         )
                               )
WUELLNER, individually and on behalf
                               )
of all others similarly situated,
                               )
                        Plaintiffs,
                               )
          v.                   )                             ORDER
                               )
LOUISIANA-PACIFIC CORPORATION, )
                Defendant.     )



       This cause comes before the Court on multiple pending motions. For the reasons

discussed below, defendant's motion for summary judgment is granted, the class is decertified,

and the remaining motions are denied as moot.

                                         BACKGROUND

       The Court hereby incorporates by reference as if fully set forth herein its recitation of the

facts and procedural history of this action as set out in its previous orders. This matter was

scheduled to proceed to trial during the Court's August 2013 term, but the trial was continued in

light of multiple motions filed. Pending are plaintiffs' motion for trial phasing and defendant's

motion for reconsideration of the Court's order denying partial summary judgment and declining

to decertify class, as well as defendants' motion to expedite consideration of the pending motions

in light of trial and now, most recently filed, defendant's motion for summary judgment. The

Court addresses first the motion for summary judgment.




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                                          DISCUSSION

       Defendant contends that a recent decision of the North Carolina Court of Appeals

clarifies that the named plaintiffs' claims are barred by the applicable statute of repose under

North Carolina law. "Summary judgment is proper if the pleadings or proof show without

contradiction that the statute of repose has expired." Bryant v. Don Galloway Homes, Inc., 147

N.C. App. 655, 657 (2001) (citation omitted). Although the deadline for filing dispositive

motions has passed, the Court finds it appropriate to consider defendant's motion as it raises not

merely a defense but the absence of a "condition precedent to [plaintiffs'] right to maintain a

lawsuit." Tipton & Young Canst. Co. Inc. v. Blue Ridge Structure Co., 116 N.C. App. 115, 117

(1994). Furthermore, a court may reconsider its own orders entered before entry of final

judgment. Fed. R. Civ. P. 54(b).

       The Court previously addressed defendant's argument regarding the application of the

statute of repose in its order denying defendant's motion for partial judgment on the pleadings

and motion for judgment on the pleadings [DE 47]. There, the Court found that, because an

express warranty is contractual in nature, a claim for breach of an express warranty may be

brought after the expiration of the applicable six year statute of repose if the express warranty

period extends beyond the statute of repose. Distinguishing a 2008 North Carolina Court of

Appeals opinion, Roemer v. Preferred Roofing, 190 N.C. App. 813 (2008), this Court further

held that because the express warranty at issue here provides that damages are the only remedy

available, plaintiff Hart was not limited to specific performance as a remedy for her breach of




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warranty claim. 1

        On July 16, 2013, a panel of the North Carolina Court of Appeals, instructed by Roemer,

held that, even in the face of an express warranty that includes a longer term, "a plaintiff whose

action is not filed within the time set forth in the statute of repose has no cause of action for

damages." Christie v. Hartley Canst., Inc., 745 S.E.2d 60, 63 (N.C. App. 2013) (emphasis

added). "[F]ederal courts, under the doctrine of Erie . . . must follow the decisions of

intermediate state courts in the absence of convincing evidence that the highest court of the state

would decide differently." Assicurazioni Generali, S.p.A. v. Neil, 60 F.3d 997, 1002 (4th Cir.

1998) (quoting Stoner v. New York Life Ins. Co., 311 U.S. 464,467 (1940)). The Court has been

presented with insufficient evidence to find that the North Carolina Supreme Court would decide

this issue differently.

        It is undisputed that this suit was filed beyond the six-year statute of repose applicable to

the claims of the named plaintiffs. Defendant's express warranty provides that the "sole

available remedy" is that defendant "will pay an amount equal to the cost of replacing any such

failed Product" or up to twice the cost of replacing the failed product, depending on the year of

the warranty. Although plaintiffs request "specific performance" of the warranty provision

remedying breach, at bottom such provision, as this Court has previously held, is one for

damages. As recently clarified by the North Carolina Court of Appeals, any action for damages

brought outside ofthe statute of repose is barred. Summary judgment is therefore appropriate as

to the claims of the named plaintiffs.



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       0n September 21, 2009, plaintiff Hart along with plaintiffs Druther and Wuellner filed
an amended class action complaint.

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.


                                        Decertification of the Class

           The Court is persuaded by defendant's argument that decertification of the class is

    appropriate in light of Christie. Plaintiffs assert a claim for breach of express warranty, and

    application of Christie provides that those class members who would bring claims within the

    statute of repose would be permitted to seek damages under the existing or reformed warranty

    while those bringing claims outside of the statute of repose would not. The underlying basis for

    this Court's certification of the class was its finding that the statute of repose would not bar an

    action for damages brought under the express warranty, meaning that the named plaintiffs and

    any class member who purchased Trimboard within the last ten years would have standing to

    bring an action alleging breach of the express warranty.

           Christie now directs that the statute of repose does bar an action for damages, even if the

    terms of the warranty extend beyond the applicable period of repose. Therefore, the task of

    determining which plaintiffs would be permitted to bring an action for damages would

    necessarily require an individualized determination of "the later of the specific last act or

    omission of the defendant giving rise to the cause of action or substantial completion of the

    improvement." N.C. Gen. Stat. § 1-50(a)(5). The necessity for such a determination does in fact

    destroy "typicality, ... predominance, [and] otherwise foreclose class certification." Gunnells v.

    Healthplan Services, Inc., 348 F.3d 417,427-28 (4th Cir. 2003). Accordingly, pursuant to Rule

    23(c)(1)(3) of the Federal Rules of Civil Procedure and in light of the Court's broad discretion to

    certify or decertify a class action, Ward v. Dixie Nat. Life Inc. Co., 595 F.3d 164, 179 (4th Cir.

    2010), the class certified by this Court's July 18,2011, order is hereby DECERTIFIED.

    Members of the former class may proceed with their claims solely on an individual basis.


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                                        CONCLUSION

       Accordingly, for the reasons discussed above, defendant's motion for summary judgment

[DE 208] is GRANTED.

       Defendant's renewed request to decertify the class is hereby ALLOWED. Class counsel

is hereby DIRECTED to notify the class pursuant to Rule 23(c)(2)(B) that class has been

decertified and that each member may proceed with their claims on an individual basis.

       All other pending motions [DE 184, 199 & 203] are DENIED AS MOOT.

       The clerk is DIRECTED to close this case.



SO ORDERED, this ~day of August, 2013.




                                            UNITED STATES DISTRICT JUD




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